Case 1:14-ml-02570-RLY-TAB Document 23520-1 Filed 01/31/23 Page 1 of 1 PageID #:
                                  135576



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


  In Re: COOK MEDICAL, INC., IVC FILTERS                 Case No. 1:14-ml-2570-RLY-TAB
  MARKETING, SALES PRACTICES AND                         MDL No. 2570
  PRODUCTS LIABILITY LITIGATION



  This Document Relates to Plaintiff(s):

  Jamie Eden - 1:20-cv-06307-RLY-TAB
  Jamey Wiley - 1:21-cv-06326-RLY-TAB
  Eddie Poole - 1:21-cv-06322-RLY-TAB
  Aisha Howard - 1:21-cv-06330-RLY-TAB
  Vanessa Santiago - 1:20-cv-06289-RLY-TAB
  Bernadette Clark - 1:21-cv-06327-RLY-TAB
  Shante Martin - 1:22-cv-06831-RLY-TAB
  Robbill Mohammed - 1:22-cv-06832-RLY-TAB



         ORDER PERMITTING WITHDRAWAL OF ATTORNEY APPEARANCE

         Plaintiffs’ Motion to Withdraw Attorney Appearance of Blake G. Tanase is GRANTED, it

 is therefore,

         ORDERED that Blake G. Tanase is withdrawn as attorney of record for Plaintiffs Jamie

 Eden, Jamey Wiley, Eddie Poole, Aisha Howard, Vanessa Santiago, Bernadette Clark, Shante

 Martin, and Robbill Mohammed effective immediately. Basil E. Adham and Johnson Law Group

 shall continue to serve as counsel of record for Plaintiffs.



 Date:

                                                        ____________________________________
                                                        Tim A. Baker
                                                        United States Magistrate Judge
                                                        Southern District of Indiana
